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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 19-CR-80181-RUIZ/REINHART


   UNITED STATES OF AMERICA

   v.

   MINAL PATEL, a/k/a “Minalkumar Patel,”

                        Defendant.
                                         _______/

                                       PROPOSED ORDER

          THIS CAUSE came before the Court on the United States’ Motion to Compel Reciprocal

   Discovery, including Discovery Regarding Defendant’s Advice-of-Counsel Defense [D.E. 280],

   filed October 3, 2022 (“Motion”). Being fully advised of the premises, the Court hereby GRANTS

   the Motion.

          The Court further ORDERS that:

             1) If Defendant intends to rely on an advice-of-counsel defense at trial, Defendant

                 shall immediately identify all attorneys who purportedly provided any advice to

                 Defendant pertaining to any anti-kickback statute, the Eliminating Kickbacks in

                 Recovery Act, billing Medicare for genetic testing, and money laundering, even if

                 such attorneys were not formally retained by Defendant; and

             2) If Defendant intends to rely on an advice-of-counsel defense at trial, Defendant

                 shall waive privilege over and produce to the United States all communications

                 between Defendant, any representative of Defendant or LabSolutions, LLC, and

                 those attorneys (or their representatives, such as associates, paralegals, or

                 assistants), including all memorialization of such conversations.
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          If Defendant does not complete the production of materials currently in his custody,

   possession, or control by October 21, 2022, any evidence pertaining to an advice-of-counsel

   defense will be excluded at trial.

          DONE AND ORDERED in Fort Lauderdale, Florida, this ____ day of _________, 2022.



                                                    ______________________________
                                                    RODOLFO A. RUIZ II
                                                    UNITED STATES DISTRICT JUDGE

   cc:    counsel of record




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